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   9

  10                           UNITED STATES DISTRICT COURT
  11                        SOUTHERN DISTRICT OF CALIFORNIA
  12
       CARLOS VICTORINO and ADAM                        Case No.: 3:16-CV-01617-GPC-JLB
  13   TAVITIAN, individually, and on
       behalf of other members of the
  14   general public similarly situated,               [REDACTED] DECLARATION OF
                                                        TAREK H. ZOHDY IN SUPPORT
  15                 Plaintiffs,                        OF PLAINTIFFS’ MOTION FOR
                                                        CLASS CERTIFICATION
  16         v.
                                                        District Judge: Hon. Gonzalo P. Curiel
  17   FCA US LLC, a Delaware limited                   Magistrate:     Hon. Jill L. Burkhardt
       liability company,
  18                                                    Hearing Date: January 19, 2018
                     Defendant.                         Hearing Time: 1:30 p.m.
  19                                                    Location:     221 West Broadway
                                                                      Courtroom 2D, 2nd Fl.
  20
                                                        Action Filed:       June 24, 2016
  21

  22

  23

  24                    CONTAINS CONFIDENTIAL INFORMATION
  25                     CONDITIONALLY LODGED UNDER SEAL
  26

  27

  28


         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1
                     I, Tarek H. Zohdy, declare as follows:
   2
             1.      I am an attorney duly licensed to practice before this Court. I am
   3
       associated with the law firm Capstone Law APC, counsel of record for Plaintiffs
   4
       Carlos Victorino and Adam Tavitian (“Plaintiffs”). I have personal knowledge
   5
       of the facts set forth herein and, if called as a witness, could and would testify
   6
       competently to such facts.
   7
             2.      I submit this declaration in support of Plaintiffs’ Motion for Class
   8
       Certification.
   9
       FCA US LLC (“FCA”) DOCUMENTS
  10
             3.      Attached as Exhibit A is a true and correct copy of an email
  11
       exchange, last response on June 23, 2016, by
  12
                           , regarding
  13
       including attachment. (MCPS003596-3609.) (Designated “Confidential.”)
  14
             4.      Attached as Exhibit B is a true and correct copy of FCA’s
  15
                                                                          (MCPS000904-945.)
  16
       (Designated “Confidential.”)
  17
             5.      Attached as Exhibit C is a true and correct copy of an email
  18
       exchange, last response on June 13, 2016, by
  19
                  regarding
  20
       including attachment. (MCPS003875-3886.) (Designated “Confidential.”)
  21
             6.      Attached as Exhibit D is a true and correct copy of FCA’s
  22
                                                , released on August 15, 2014.
  23
       (MCPS003887.) (Designated “Confidential.”)
  24
             7.      Attached as Exhibit E is a true and correct copy of FCA’s service
  25
       bulletin STAR Case S1406000001, released on February 26, 2015.
  26
       (MCPS000867.)
  27
             8.      Attached as Exhibit F is a true and correct copy of an email
  28
                                                      Page 1
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1   exchange, last response on March 31, 2015, by
   2                                                             regarding
   3   excluding attachments. (MCPS001682-1685.) (Designated “Confidential.”)
   4         9.      Attached as Exhibit G is a true and correct copy of an email
   5   exchange, last response on August 3, 2016, by                                      , regarding
   6                                                            including attachment.
   7   (MCPS0003841-3849.) (Designated “Confidential.”)
   8         10.     Attached as Exhibit H is a true and correct copy of FCA’s TSB 06-
   9   001-16, “Clutch Pedal Operation X62 Extended Warranty,” released January 8,
  10   2016. (MCPS000858-866.)
  11         11.     Attached as Exhibit I is a true and correct copy of FCA’s TSB 06-
  12   001-16 REV.A, “Clutch Pedal Operation X62 Extended Warranty,” released
  13   August 27, 2016. (MCPS001052-1060.)
  14         12.     Attached as Exhibit J is a true and correct copy of an email
  15   exchange, last response on April 15, 2015, by                            regarding
  16              including attachments
  17                           and a May 6, 2012,
  18                           (MCPS005071-5084.) (Designated “Confidential.”)
  19         13.     Attached as Exhibit K is a true and correct copy of an email
  20   exchange, last response on July 14, 2014, by                          , regarding
  21

  22   (MCPS007068-7072.) (Designated “Confidential.”)
  23         14.     Attached as Exhibit L is a true and correct copy of an email sent on
  24   May 29, 2015, by                   , regarding
  25                                                                 report. (MCPS002425-2436.)
  26         15.     Attached as Exhibit M is a true and correct copy of an email sent on
  27   July 23, 2014, by                     regarding                          (MCPS006692.)
  28   (Designated “Confidential.”)
                                                      Page 2
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1         16.     Attached as Exhibit N is a true and correct copy of an email
   2   exchange, last response on August 14, 2014, by
   3                                                      regarding
   4                                                        including attachment.
   5   (MCPS003735-3740.) (Designated “Confidential.”)
   6         17.     Attached as Exhibit O is a true and correct copy of an email
   7   exchange, last response on October 20, 2014, by                            , regarding
   8                                                           (MCPS007109-7112.) (Designated
   9   “Confidential.”)
  10         18.     Attached as Exhibit P is a true and correct copy of an email
  11   exchange, last response on July 24, 2015, by                          , regarding
  12                              including attachment. (MCPS003147-3149.) (Designated
  13   “Confidential.”)
  14         19.     Attached as Exhibit Q is a true and correct copy of an email sent on
  15   October 12, 2015, by                regarding “                        including attachment.
  16   (MCPS004901-4911.) (Designated “Confidential.”)
  17         20.     Attached as Exhibit R is a true and correct copy of an email last
  18   dated on May11, 2016, by                      , regarding “
  19   including attachment. (MCPS005207-5216.) (Designated “Confidential.”)
  20         21.     Attached as Exhibit S is a true and correct copy of an email
  21   exchange, last response on March 15, 2016, by                           , regarding
  22                                                                including attachment.
  23   (MCPS005167-5179.) (Designated “Confidential.”)
  24         22.     Attached as Exhibit T is a true and correct copy of excerpts from
  25                                     related to the
  26                              . (MCPS001639.) (Designated “Confidential.”)
  27         23.     Attached as Exhibit U is a true and correct copy of an email
  28   exchange, last response on December 3, 2014, by                             , regarding
                                                      Page 3
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1                                                                                      excluding
   2   attachment. (MCPS006874-6876.) (Designated “Confidential.”)
   3         24.     Attached as Exhibit V is a true and correct copy of an email
   4   exchange, last response on December 10, 2014, by
   5               regarding                              including attachment. (MCPS005336-
   6   5337.) (Designated “Confidential.”)
   7         25.     Attached as Exhibit W is a true and correct copy of an email thread,
   8   last response on December 11, 2014, by                         regarding
   9                                   (MCPS002339.) (Designated “Confidential.”)
  10         26.     Attached as Exhibit X is a true and correct copy of an email thread,
  11   last response on September 1, 2015, by                        , regarding
  12           excluding attachment. (MCPS002708-2709). (Designated
  13   “Confidential.”)
  14         27.     Attached as Exhibit Y is a true and correct copy of an except of an
  15   email, dated October 1, 2015, by                           , regarding
  16        (MCPS003565.) (Designated “Confidential.”)
  17         28.     Attached as Exhibit Z is a true and correct copy of an excerpt of an
  18   “excel” spread sheet titled                       (MCPS003813.) (Designated
  19   “Confidential.”)
  20         29.     Attached as Exhibit AA is a true and correct copy of an email
  21   thread, last response on July 29, 2012, by                         , regarding
  22                                          (MCPS005025-5035.) (Designated
  23   “Confidential.”)
  24         30.     Attached as Exhibit BB is a true and correct copy of an email
  25   thread, last response on August 6, 2012, by
  26                 , regarding
  27                                                  (MCPS005085-5087.) (Designated
  28   “Confidential.”)
                                                      Page 4
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1         31.     Attached as Exhibit CC is a true and correct copy of a document
   2   entitled                                       (MCPS007974.) (Designated
   3   “Confidential.”)
   4   THIRD-PARTY DOCUMENTS
   5         32.     Attached as Exhibit DD is a true and correct copy of an email sent
   6   on April 28, 2015, by                                                                regarding
   7                                                       including attachments
   8                                              and                                     ,” revised
   9   November 11, 2013. The reports,                                          were produced in
  10   this litigation by FCA. (MCPS006647- MCPS006672.) (Designated
  11   “Confidential.”)
  12   PLAINTIFFS’ EXPERT REPORTS
  13         33.     Attached as Exhibit EE is a true and correct copy of the report of
  14   Plaintiffs’ expert, Michael Stapleford.
  15         34.     Attached as Exhibit FF is a true and correct copy of the report of
  16   Plaintiffs’ expert, Steven Boyles.
  17   PLAINTIFFS’ COUNSEL’S RESUME
  18         35.     Attached as Exhibit GG is a true and correct copy of the firm
  19   resume of Capstone Law, APC.
  20   PLAINTIFFS’ DECLARATIONS
  21         36.     Attached as Exhibit HH is a true and correct copy of the declaration
  22   of Plaintiff Carlos Victorino in support of Plaintiffs’ Motion for Class
  23   Certification.
  24         37.     Attached as Exhibit II is a true and correct copy of the declaration of
  25   Plaintiff Adam Tavitian in support of Plaintiffs’ Motion for Class Certification.
  26   MISCELLANEOUS
  27         38.     Attached as Exhibit JJ is a true and correct copy of an exemplar X62
  28   Extended Warranty letter sent to consumers on or around January 8, 2016.
                                                      Page 5
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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   1   (VIC_0004.)
   2
             I declare under penalty of perjury under the laws of the United States that
   3
       the foregoing is true and correct. Executed this 18th day of October, 2017.
   4

   5

   6

   7                                                               /s/Tarek H. Zohdy
                                                                     Tarek H. Zohdy
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                                                      Page 6
         [REDACTED] DECLARATION OF TAREK H. ZOHDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
